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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                    CASE NO. 1:11-CR-00299-AWI
11
                                Plaintiff,        FINAL ORDER OF FORFEITURE
12
                         v.
13
     ANTONIO HERNANDEZ SANCHEZ,
14
                              Defendant.
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16
           WHEREAS, on May 14, 2012, this Court entered a Preliminary Order of Forfeiture
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     pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R.
18
     Crim. P. 32.2(b)(1), based upon the plea agreement entered into between plaintiff and
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     defendant Antonio Hernandez Sanchez forfeiting to the United States the following
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     property:
21
                   a.    Approximately 2,380 CDs, and
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                   b.    Approximately 780 DVDs.
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24         AND WHEREAS, beginning July 14, 2012, for at least 30 consecutive days, the

25 United States published notice of the Court’s Order of Forfeiture on the official internet

26 government forfeiture site www.forfeiture.gov. Said published notice advised all third
27 parties of their right to petition the Court within sixty (60) days from the first day of

28 publication of the notice for a hearing to adjudicate the validity of their alleged legal



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 1 interest in the forfeited property;

 2         AND WHEREAS, the Court has been advised that no third party has filed a claim
 3 to the subject property and the time for any person or entity to file a claim has expired.

 4         Accordingly, it is hereby ORDERED and ADJUDGED:
 5         1. A Final Order of Forfeiture shall be entered forfeiting to the United States of
 6 America a1l right, title, and interest in the above-listed property pursuant to 18 U.S.C. §

 7 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2(b)(1), to be disposed of

 8 according to law, including all right, title, and interest of Antonio Hernandez-Sanchez.

 9         2. All right, title, and interest in the above-listed property shall vest solely in the
10 name of the United States of America.

11         3. The United States Marshals Service (or designee) shall maintain custody of and
12 control over the subject property until it is disposed of according to law.

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14 IT IS SO ORDERED.

15 Dated: January 3, 2017
                                            SENIOR DISTRICT JUDGE
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